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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                       March 22, 2023
                                                                     Nathan Ochsner, Clerk

                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

        UNITED STATES OF          §   CIVIL ACTION NO
        AMERICA and STATE         §   4:22-cv-01279
        OF TEXAS                  §
                 Plaintiffs,      §
                                  §
                                  §
              vs.                 §   JUDGE CHARLES ESKRIDGE
                                  §
                                  §
        CITY OF BAYTOWN,          §
        TEXAS,                    §
                  Defendant.      §

                               ORDER

           The joint report by the parties on the progress of
       settlement negotiations has been reviewed. Dkt 27.
           The parties are ORDERED to file another status report
       by September 30, 2023.
           This case remains STAYED and ADMINISTRATIVELY
       CLOSED.

          SO ORDERED.
          Signed on March 22, 2023, at Houston, Texas.



                                __________________________
                                Hon. Charles Eskridge
                                United States District Judge
